Case 09-10138-MFW   Doc 1282-2   Filed 08/04/09   Page 1 of 16




                        Exhibit A

                    Bidding Procedures
           Case 09-10138-MFW          Doc 1282-2       Filed 08/04/09     Page 2 of 16




                                    BIDDING PROCEDURES

        Set forth below are the bidding procedures (the “Bidding Procedures”) to be employed
with respect to the proposed sale of certain assets and assumption of certain liabilities (the
“Sale”) as set forth in the Purchase Agreements (as defined below) with respect to the Purchaser,
or, as set forth in the relevant sale agreements with respect to a Successful Bidder (as defined
below). Capitalized terms used but not defined herein shall have the meanings ascribed to them
in the Agreement (as defined below).

       On July 20, 2009, Nortel Networks Inc. and certain of its U.S. subsidiaries that are
debtors and debtors-in-possession (collectively, the “U.S. Debtors”) as well as Nortel Networks
Limited and certain other affiliates of the U.S. Debtors that have commenced proceedings under
the Canadian Companies’ Creditors Arrangement Act (the “Canadian Debtors”), and certain non-
debtor affiliates of the U.S. Debtors and the Canadian Debtors (together with the U.S. Debtors
and the Canadian Debtors, the “North American Sellers”) executed that certain Asset and Share
Sale Agreement (the “Agreement”) with Avaya Inc. (together with any of its designees, the
“Purchaser”).

        On July 20, 2009, certain other affiliates of the North American Sellers (the “EMEA
Sellers” and together with the North American Sellers, the “Sellers”), certain of which are in
administration proceedings in which Alan Bloom, Stephen Harris, Chris Hill, Alan Hudson and
David Hughes of Ernst & Young LLP, have been appointed as the joint administrators of those
EMEA Sellers by the English High Court of Justice in connection with the proceedings (the “UK
Proceedings”) under the Insolvency Act 1986 (such individuals collectively, the
“Administrators”), and the Administrators executed that certain Asset Sale Agreement relating to
the sale and purchase of the EMEA Assets with the Purchaser (the “EMEA Agreement” and
together with the Agreement, the “Purchase Agreements”).

        The Sellers have determined that: (A) the transactions contemplated by the Purchase
Agreements and the ancillary agreements discussed therein with respect to the Purchaser, or, as
set forth in the relevant sale agreements and ancillary agreements with respect to a Successful
Bidder, (collectively, the “Transaction”) should be subject to competitive bidding as set forth
herein; (B) the transfer of the U.S. Debtors’ rights, title and interests in and to the Assets (as
defined below) should be subject to approval by the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) pursuant to Sections 363 and 365 of title 11 of the
United States Code, 11 U.S.C. §§ 101-1330, as amended (the “Bankruptcy Code”); (C) the
transfer of the rights, title and interests of the Canadian Debtors (as such term is defined in the
Agreement) in and to the Assets should be subject to approval by the Ontario Superior Court of
Justice (the “Canadian Court”); and (D) the Transaction shall be subject to approval by such
other applicable court(s) as the Sellers, in consultation with the Committee (as defined below),
the Bondholder Group (as defined below) and the Monitor (as defined below), may reasonably
determine in good faith is legally required and certain other closing conditions as set forth in the
Purchase Agreements.

       On July 20, 2009, the U.S. Debtors filed a Motion for Orders (I)(A) Authorizing Debtors’
Entry into the Agreement, (B) Authorizing and Approving the Bidding Procedures, (C)
Authorizing and Approving a Break-Up Fee and Expense Reimbursement, (D) Approving the
               Case 09-10138-MFW               Doc 1282-2        Filed 08/04/09        Page 3 of 16




Notice Procedures, (E) Approving the Assumption and Assignment Procedures, (F) Authorizing
the Filing of Certain Documents Under Seal and (G) Setting a Date for the Sale Hearing, and (II)
Authorizing and Approving (A) the Sale of Certain Assets of, and Equity Interests in, Debtors’
Enterprise Solutions Business, (B) the Assumption and Assignment of Certain Contracts and
Leases and (C) the Assumption and Sublease of Certain Leases (the “Sale Motion”).

        On August 4, 2009, the Bankruptcy Court entered an Order approving, among other
things, the Bidding Procedures set forth herein and the payment, in certain circumstances, of the
Break-Up Fee and Expense Reimbursement (the “Bidding Procedures Order”).

         On July 31, 2009, the Canadian Debtors filed a motion with the Canadian Court seeking
an order for approval of (I) execution and delivery of the Agreement by the Canadian Debtors,
(II) payment of the Break-Up Fee and Expense Reimbursement in the circumstances provided
for in the Agreement, and (III) a process for the Sale of the Canadian Debtors’ rights, title and
interests in and to the Assets (as defined below).

       On August 4, 2009, the Canadian Court entered an Order approving, among other things,
the Bidding Procedures set forth herein and the payment, in certain circumstances, of the Break-
Up Fee and Expense Reimbursement (the “Canadian Sales Process Order”).

                                                  Bidding Process

        The Bidding Procedures set forth herein describe, among other things, the assets available
for sale, the manner in which prospective bidders may gain access to or continue to have access
to due diligence materials concerning the Assets, the manner in which bidders and bids become
Qualified Bidders (as defined below) and Qualified Bids (as defined below), respectively, the
receipt and negotiation of bids received, the conduct of any subsequent Auction (as defined
below), the ultimate selection of the Successful Bidder (as defined below), and the Bankruptcy
Court’s and the Canadian Court’s and, if required, such other applicable courts’ approval thereof
(collectively, the “Bidding Process”). The Sellers intend to consult with, among others, the
Official Committee of Unsecured Creditors in connection with the chapter 11 cases of Nortel
Networks Inc., et al. (Case No. 09-10138) involving the U.S. Debtors (the “Committee”), the ad
hoc group of bondholders holding claims against certain of the U.S. Debtors and certain of the
Canadian Debtors (the “Bondholder Group”), Ernst & Young Inc., in its capacity as the
Canadian Court-appointed monitor in connection with the proceedings under the Companies’
Creditors Arrangement Act (the “Monitor”), the Administrators in connection with the UK
Proceedings, and their respective advisors throughout the Bidding Process. In the event that the
Sellers and any party disagree as to the interpretation or application of these Bidding Procedures,
the Bankruptcy Court and the Canadian Court will have jurisdiction to hear and resolve such
dispute.1




1
    For the avoidance of doubt, this Bidding Process shall not govern any disagreements among the Sellers.



                                                           2
           Case 09-10138-MFW           Doc 1282-2       Filed 08/04/09     Page 4 of 16




                                         Assets To Be Sold

        The Sellers are offering for sale, in one or more transactions, certain of the Sellers’ assets
(including the stock of certain subsidiaries of the Sellers) pertaining to the business segments
described in the Purchase Agreements with respect to the Purchaser, or, as set forth in the
relevant sale agreements with respect to a Successful Bidder, and related schedules and in an
information memorandum made available by the Sellers to the Purchaser and other potential
bidders, which will also be made available to other prospective purchasers that have executed a
confidentiality agreement with the Sellers (the “Assets”).

                                         “As Is, Where Is”

        The sale of the Assets will be on an “as is, where is” basis and without surviving
representations or warranties of any kind, nature, or description by the Sellers, their agents, or
estates, except, with respect to the Purchaser, to the extent set forth in the Purchase Agreements
or, with respect to a Successful Bidder (as defined below), to the extent set forth in the relevant
sale agreements of such Successful Bidder. In addition, in the case of the EMEA Sellers, the sale
of whatever rights, title and interests that such EMEA Seller may have (if any) in and to the
Assets will be on an “as-is” basis and will be without any representations or warranties.

                                Free Of Any And All Claims And Interests

        All of the rights, title and interests of the U.S. Debtors and the Canadian Debtors in and
to the Assets, or any portion thereof, to be acquired will be sold free and clear of all pledges,
liens, security interests, encumbrances, claims, charges, options, and interests thereon and there
against (collectively, the “Claims and Interests”) pursuant to sections 363 and 365 of the
Bankruptcy Code, such Claims and Interests to attach to the net proceeds of the sale of such
Assets (without prejudice to any claims or causes of action regarding the priority, validity or
enforceability thereof), except, with respect to the Purchaser, to the extent otherwise set forth in
the Agreement or, with respect to a Successful Bidder, to the extent otherwise set forth in the
relevant sale agreement of such Successful Bidder with the U.S. Debtors and the Canadian
Debtors.

                                         Publication Notice

        As soon as reasonably practicable after entry of orders by the Bankruptcy Court and the
Canadian Court approving these Bidding Procedures, but in any event no more than three (3)
Business Days after the entry of such orders, the Sellers shall publish notice of these Bidding
Procedures, the time and place of the Auction (as defined below), if required, the time and place
of the Sale Hearing (as defined below), and the objection deadline for the Sale Hearing in The
Wall Street Journal (National Edition), The Globe & Mail (National Edition) and The Financial
Times (International Edition).

                                    Participation Requirements

        Unless otherwise ordered by both the Bankruptcy Court and the Canadian Court and
accepted by the Administrators, for cause shown or, with regard to paragraphs (b) and (c) below,
as otherwise determined by the Sellers (in consultation with the Committee, the Bondholder
                                                  3
           Case 09-10138-MFW          Doc 1282-2      Filed 08/04/09     Page 5 of 16




Group and the Monitor), prior to the Bid Deadline (as defined below), in order to participate in
the Bidding Process, each person, other than the Purchaser, who wishes to participate in the
Bidding Process (a “Potential Bidder”) must deliver to the Notice Parties (as defined below) at
the addresses provided below:

               (a)     an executed confidentiality agreement (to be delivered prior to the
       distribution of any confidential information by the Sellers to a Potential Bidder) in form
       and substance satisfactory to the Sellers, that shall not be on terms that, in the Sellers’
       reasonable judgment, are more favorable to the Potential Bidder than the confidentiality
       agreement executed by the Purchaser and which shall inure to the benefit of any
       purchaser of the Assets (in the event that the Potential Bidder has already entered into a
       confidentiality agreement with the Sellers, it must provide a statement agreeing that its
       obligations under such agreement shall inure to the benefit of any purchaser of the Assets
       and waiving any of its rights under such confidentiality agreement that are in conflict
       with the Bidding Procedures or that would otherwise prohibit disclosures regarding the
       Potential Bidder, or any Transaction it may enter into, to the Notice Parties (as defined
       below));

              (b)      current audited financial statements and latest unaudited financial
       statements of the Potential Bidder, or, if the Potential Bidder is an entity formed for the
       purpose of acquiring the Assets (or any portion thereof), current audited financial
       statements and latest unaudited financial statements of the equity holders of the Potential
       Bidder who will guarantee the obligations of the Potential Bidder, or such other form of
       financial disclosure and credit-quality support or enhancement that will allow the Sellers
       and their respective financial advisors, in consultation with the Committee, the
       Bondholder Group and the Monitor, to make a reasonable determination as to the
       Potential Bidder’s financial and other capabilities to consummate the Transaction; and

               (c)     a preliminary (non-binding) written proposal regarding: (i) the purchase
       price range (including liabilities to be assumed by the Potential Bidder); (ii) any Assets
       expected to be excluded or any additional assets desired to be included; (iii) the structure
       and financing of the Transaction (including, but not limited to, the sources of financing
       for the purchase price and all requisite financial assurance); (iv) any anticipated
       corporate, stockholder, internal or regulatory approvals required to close the Transaction,
       the anticipated time frame and any anticipated impediments for obtaining such approvals;
       (v) the proposed number of employees of the Sellers who will become employees of the
       Potential Bidder (save in jurisdictions where employees transfer by operation of law), and
       any proposed measures associated with the continued employment of all employees who
       will become employees of the Qualified Bidder; and (vi) any conditions to closing that
       the Potential Bidder may wish to impose in addition to those set forth in the Purchase
       Agreements.

        A Potential Bidder that delivers the documents described above, whose financial
information and credit quality support or enhancement demonstrate to the Sellers’ satisfaction
the financial capability of the Potential Bidder to consummate the Transaction, and who has
submitted a reasonably competitive and realistic non-binding proposal, as described above, and
who has executed a confidentiality agreement, as described above, and that the Sellers determine

                                                4
           Case 09-10138-MFW          Doc 1282-2     Filed 08/04/09     Page 6 of 16




in their reasonable business judgment, after consultation with their counsel and financial
advisors, the Committee, the Bondholder Group and the Monitor, is likely (based on availability
of financing, experience and other considerations) to be able to consummate the Transaction will
be deemed a “Qualified Bidder”.

        As promptly as practicable after a Potential Bidder delivers all of the materials required
above, the Sellers will determine, in consultation with the Committee, the Bondholder Group and
the Monitor, and will notify the Potential Bidder, if such Potential Bidder is a Qualified Bidder.
At the same time that the Sellers notify the Potential Bidder that it is a Qualified Bidder, the
Sellers will allow the Qualified Bidder to begin or continue to conduct due diligence as provided
in the following paragraph with respect to the Assets.

                                         Due Diligence

        The Sellers may in their reasonable business judgment, and subject to competitive and
other business considerations, afford each Qualified Bidder and any person seeking to become a
Qualified Bidder that has executed a confidentiality agreement with the Sellers such due
diligence access to materials and information relating to the Assets as the Sellers deem
appropriate after consultation with the Committee, the Bondholder Group and the Monitor. Due
diligence access may include management presentations as may be scheduled by the Sellers,
access to electronic data rooms, on site inspections, and other matters which a Qualified Bidder
may reasonably request and as to which the Sellers, in their reasonable business judgment, may
agree. The Sellers will designate an employee or other representative to coordinate all
reasonable requests for additional information and due diligence access from Qualified Bidders.
No additional due diligence for any party other than a Qualified Bidder who has submitted a
Qualified Bid will continue after the Bid Deadline (as defined below). The Sellers may, in their
discretion, coordinate diligence efforts such that multiple Qualified Bidders have simultaneous
access to due diligence materials and/or simultaneous attendance at management presentations or
site inspections. In any event, the Purchaser shall be provided prompt access to all material due
diligence materials, management presentations, on site inspections and other information
provided to Qualified Bidders that were not previously made available to the Purchaser. In
addition, the Sellers shall provide prompt access to each Qualified Bidder (including the
Purchaser) to all material due diligence materials, management presentations, on site inspections
and other information provided to any Qualified Bidder after the approval of these Bidding
Procedures. Neither the Sellers nor any of their affiliates (or any of their respective
representatives) will be obligated to furnish any information relating to the Assets to any person
other than to Qualified Bidders. The Sellers make no representation or warranty as to the
information to be provided through this due diligence process or otherwise, except to the extent
set forth in the Purchase Agreements or any other definitive sale agreements with any Successful
Bidder executed and delivered by Sellers.

                                          Bid Deadline

       A Qualified Bidder that desires to make a bid will deliver written copies of its bid to the
following parties (collectively, the “Notice Parties”): (i) Nortel Networks Limited and Nortel
Networks Inc., c/o Nortel Networks Limited, Attn: Gordon A. Davies, Esq., Chief Legal Officer,
195 The West Mall, Toronto, Ontario, Canada M9C 5K1, Facsimile: (905) 863-8386; (ii) U.S.

                                                5
           Case 09-10138-MFW           Doc 1282-2       Filed 08/04/09     Page 7 of 16




Debtors’ counsel: Cleary Gottlieb Steen & Hamilton LLP, Attn: James L. Bromley and Lisa M.
Schweitzer, One Liberty Plaza, New York, New York 10006, Facsimile: (212) 225-3999; (iii)
Canadian Debtors’ counsel: Ogilvy Renault LLP, Attn: Derrick C. Tay and Jennifer Stam,
Royal Bank Plaza, South Tower, Suite 3800, 200 Bay Street, Toronto, Ontario, Canada,
Facsimile: (416) 216-3930; (iv) Sellers’ financial advisors: Lazard Frères & Co., Attn: Frank
A. (Terry) Savage, 30 Rockefeller Plaza, New York, NY 10020, Facsimile: (212) 332-1748; (v)
counsel to the Committee: Akin Gump Strauss Hauer & Feld LLP, Attn: Fred S. Hodara,
Stephen B. Kuhn, David H. Botter and Kenneth A. Davis, One Bryant Park, New York, New
York 10036, Facsimile: (212) 872-1002; (vi) financial advisor to the Committee: Jefferies &
Company, Inc., Attn: General Counsel, Investment Banking, 520 Madison Avenue, New York,
New York, Facsimile: (212) 284-2280; (vii) counsel to the Bondholder Group: Milbank,
Tweed, Hadley & McCloy, Attn: Roland Hlawaty, One Chase Manhattan Plaza, New York,
New York, 10006, Facsimile: (212) 822-5735; (viii) the Monitor: Murray A. McDonald, Ernst
& Young Inc., Ernst & Young Tower, 222 Bay Street, P. O. Box 251, Toronto, ON M5K 1J7
Canada, Facsimile: (416) 943-3300; (ix) the Administrators: Ernst & Young LLP, Attn:
Stephen Harris, 1 More Place, London SE1 2AF, United Kingdom, Facsimile +44 20 7951 9002;
and (x) counsel to the Administrators: Herbert Smith LLP, Attn: Stephen Gale, Exchange
House, Primrose Street, London, EC2A 2HS, Facsimile: +44 20 7098 4878; so as to be received
not later than September 4, 2009 at 12:00 pm (Eastern) by the Sellers (the “Bid Deadline”).

                                           Qualified Bid

       A bid submitted will be considered a Qualified Bid only if the bid is submitted by a
Qualified Bidder, pursuant to the previous paragraph and complies with all of the following (a
“Qualified Bid”):

               (a)     it states that the applicable Qualified Bidder offers to purchase the Assets
       upon the terms and conditions substantially as set forth in the Purchase Agreements,
       including, without limitation, with respect to certainty and timing of closing, or pursuant
       to an alternative structure (including, without limitation, an offer conditioned upon
       confirmation of a plan of reorganization proposed by the U.S. Debtors either individually
       or in collaboration with such Qualified Bidder) or upon alternative terms and conditions
       that the Sellers determine, after consultation with the Committee, the Bondholders
       Committee and the Monitor, are no less favorable than the terms and conditions of the
       Purchase Agreements;

               (b)     it includes a letter stating that the bidder’s offer is irrevocable until the
       selection of the Successful Bidder and, if applicable, the Alternate Bidder (as defined
       below), provided that if such bidder is selected as the Successful Bidder or the Alternate
       Bidder, its offer shall remain irrevocable until the earlier of (i) closing of the Sale to the
       Successful Bidder or the Alternate Bidder, and (ii) (x) with respect to the Successful
       Bidder only, 180 days from the later of the Sale Hearing and the entry of the Sale Order
       and (y) with respect to the Alternate Bidder only, the Alternate Bid Expiration Date (as
       defined below);

              (c)    it includes duly authorized and executed Purchase Agreements (as
       modified by the bidder to reflect the terms and conditions of its bid), including the

                                                  6
   Case 09-10138-MFW            Doc 1282-2      Filed 08/04/09      Page 8 of 16




purchase price for the Assets expressed in U.S. Dollars (the “Purchase Price”), together
with all exhibits and schedules thereto, including, to the extent required by the terms and
conditions of such bid, the Local Sale Agreements, the Real Estate Agreements, the
Intellectual Property License Agreement, the Transition Services Agreement, the
Trademark License Agreement, the Loaned Employee Agreement (each as defined in the
Agreement and each as modified by the bidder to reflect the terms and conditions of its
bid), the other ancillary agreements as described in the Purchase Agreements and such
additional ancillary agreements as may be required by the bidder with all exhibits and
schedules thereto (or term sheets that describe the material terms and provisions of such
agreements), as well as copies of such materials marked to show those amendments and
modifications to the Purchase Agreements (“Marked Agreements”) and such ancillary
agreements (the “Marked Ancillary Agreements”) and the proposed orders to approve the
Sale by the Bankruptcy Court, the Canadian Court and any other applicable court(s)
whose approval may be required, proposed by the bidder;

        (d)     it includes written evidence of a firm, irrevocable commitment for
financing, or other evidence of ability to consummate the proposed transaction, that will
allow the Sellers, in consultation with the Committee, the Bondholder Group and the
Monitor, to make a reasonable determination as to the Qualified Bidder’s financial and
other capabilities to consummate the transaction contemplated by the Marked
Agreements;

       (e)     it is not conditioned on (i) the outcome of unperformed due diligence by
the bidder (and includes an acknowledgement and representation that the bidder has had
an opportunity to conduct any and all required due diligence regarding the Assets prior to
making its offer) and/or (ii) obtaining financing;

       (f)     it fully discloses the identity of each entity that will be bidding for the
Assets or otherwise sponsoring or participating in connection with such bid, and the
complete terms of any such participation;

        (g)     it has a value to the Sellers, in the Sellers’ reasonable business judgment,
after consultation with their financial advisors, the Committee, the Bondholder Group
and the Monitor, that either individually or, when evaluated in conjunction with any other
Qualified Bid for the Assets, is greater than or equal to the sum of the value offered under
the Purchase Agreements, plus (i) the amount of the Break-Up Fee and Expense
Reimbursement (each as defined in the Purchase Agreements), plus (ii) U.S. $4.75
million, provided that in determining such value, the Sellers will not be limited to
evaluating the dollar amount of a competing bid, but may also consider such factors
identified in the “Evaluation of Competing Bids” section of these Bidding Procedures,
including, without limitation, the factors affecting the speed and certainty of obtaining
regulatory approvals required to close the Transaction.

        (h)    it includes an acknowledgment and representation that the bidder will
assume the Sellers’ obligations under the executory contracts and unexpired leases
proposed to be assigned pursuant to the Purchase Agreements (or identifies with
particularity which of such contracts and leases the bidder wishes not to assume, or

                                           7
   Case 09-10138-MFW           Doc 1282-2      Filed 08/04/09      Page 9 of 16




alternatively which additional executory contracts or unexpired leases the bidder wishes
to assume), contains full details of the bidder’s proposal for the treatment of related cure
costs; and it identifies with particularity any executory contract or unexpired lease the
assumption and assignment of which is a condition to closing;

          (i)     it includes an acknowledgement and representation that the bidder: (i) has
relied solely upon its own independent review, investigation and/or inspection of any
documents and/or the Assets in making its bid; and (ii) did not rely upon any written or
oral statements, representations, promises, warranties or guaranties whatsoever, whether
express or implied (by operation of law or otherwise), regarding the Assets or the
completeness of any information provided in connection therewith or the Auction, except
as expressly stated in the Marked Agreements or the Marked Ancillary Agreements; and
(iii) is not entitled to any expense reimbursement or break-up fee in connection with its
bid;

        (j)     it includes evidence, in form and substance reasonably satisfactory to
Sellers, of authorization and approval from the bidder’s board of directors (or comparable
governing body) with respect to the submission, execution, delivery and closing of the
Marked Agreements and Marked Ancillary Agreements;

        (k)     it is accompanied by a good faith deposit (each, together with the good
faith deposit of the Purchaser, a “Good Faith Deposit”) in the form of a wire transfer (to a
bank account specified by the Sellers), certified check or such other form acceptable to
the Sellers, payable to the order of the Sellers (or such other party as the Sellers may
determine) in an amount equal to $30 million to be dealt with as provided for under
“Good Faith Deposit” herein;

        (l)     it (a) contains full details of the proposed number of employees of the
Sellers (apportioned by jurisdiction(s)) who will become employees of the Qualified
Bidder (save in jurisdictions where employees transfer by operation of law) and any
proposed measures associated with the continued employment and associated with the
employment of all employees who will become employees of the Qualified Bidder, and
(b) identifies any pension liabilities and assets related to any employees currently covered
under any Nortel registered pension or retirement income plan who will become
employees of the Qualified Bidder that the Qualified Bidder intends to assume or
purchase;

       (m)     it includes evidence of the Potential Bidder’s ability to comply with
Section 365 of the U.S. Bankruptcy Code (to the extent applicable), including providing
adequate assurance of such Potential Bidder’s ability to perform in the future the
contracts and leases proposed in its bid to be assumed by the Sellers and assigned or
subleased to the Potential Bidder, in a form that will permit the immediate dissemination
of such evidence to the counterparties to such contracts and leases;

       (n)     it contains other information reasonably requested by the Sellers; and

       (o)     it is received by the Bid Deadline.

                                          8
           Case 09-10138-MFW            Doc 1282-2      Filed 08/04/09      Page 10 of 16




        The Sellers will determine, in their reasonable business judgment, after consultation with
the Committee, the Bondholder Group and the Monitor, whether to entertain bids for the Assets
that do not conform to one or more of the requirements specified herein and deem such bids to be
Qualified Bids, provided that the Sellers in evaluating such bids, may not waive substantial
compliance with any items in paragraphs (b), (d), (e), (f), (i), (j), (k), (l), (m), (n), and (o) without
the consent of the Purchaser, the Committee, the Bondholder Group and the Monitor, and such
consent shall not be unreasonably withheld in connection with any bid that (1) would otherwise
fully satisfy the requirements of a Qualified Bid hereunder but for a de minimis failure to comply
with paragraphs (b), (d), (e), (f), (i), (j), (k), (l), (m), (n), or (o) and (2) such noncompliance is
cured within 24 hours of the Bid Deadline. Notwithstanding the foregoing, the Purchaser will be
deemed a Qualified Bidder, and the Purchase Agreements will be deemed a Qualified Bid, for all
purposes in connection with the Bidding Process, the Auction and the Sale.

       The Sellers shall deliver copies of any bids deemed to be Qualified Bids to Purchaser in
accordance with section 5.1(c) of the Agreement, and notify the Purchaser and all Qualified
Bidders in writing as to whether or not any bids constitute Qualified Bids no later than three (3)
days following the expiration of the Bid Deadline. In addition, no later than three (3) Business
Days prior to the Auction, a copy of each Qualified Bid will be provided to all Qualified Bidders.

                                            Aggregate Bids

       The Sellers may aggregate separate bids from unaffiliated persons to create one
“Qualified Bid” from a “Qualified Bidder”; provided that all bidders shall remain subject to the
provisions of 11 U.S.C. § 363(n) regarding collusive bidding.

                                    Evaluation of Competing Bids

        A Qualified Bid will be valued based upon several factors including, without limitation,
items such as the purchase price and the net value (including assumed liabilities and the other
obligations to be performed or assumed by the bidder) provided by such bid, the claims likely to
be created by such bid in relation to other bids, the counterparties to such Transaction, the
proposed revisions to the relevant Transaction documents, the effect of the Transaction on the
value of the ongoing businesses of the Sellers (including ongoing relationships with customers
and suppliers), other factors affecting the speed, certainty and value of the Transaction (including
any regulatory approvals required to close the Transaction), the assets included or excluded from
the bid, the estimated number of in-scope employees of the Sellers (apportioned by
jurisdiction(s)) to be offered post-closing employment by the Qualified Bidder (save in
jurisdictions where employees transfer by operation of law) and any proposed measures
associated with the continued employment of all employees who will become the employees of
the Qualified Bidder, the transition services required from the Sellers post-closing and any
related restructuring costs, and the likelihood and timing of consummating such transaction, each
as determined by the Sellers, in consultation with their advisors, the Committee, the Bondholder
Group and the Monitor.




                                                   9
          Case 09-10138-MFW          Doc 1282-2        Filed 08/04/09   Page 11 of 16




                                        No Qualified Bids

        If the Sellers do not receive any Qualified Bids other than the Purchase Agreements
received from the Purchaser, the Auction shall be cancelled and the U.S. Debtors shall report the
same to the Bankruptcy Court, the Canadian Debtors shall report the same to the Canadian Court
and the Monitor and subject to requiring and obtaining approvals of the Bankruptcy Court, the
Canadian Court or any other applicable court and satisfaction of the conditions set forth in the
Purchase Agreements, the Sellers shall promptly proceed to complete the transactions
contemplated by the terms of the Purchase Agreements. In addition, if no Qualified Bid is
received, the U.S. Debtors reserve the right to request that the Bankruptcy Court advance the
date of the Sale Hearing (as defined below) and provide notice of such new date to those parties
in interest entitled to notice thereof and the Canadian Debtors reserve the right to file a motion
with the Canadian Court seeking the approval of the sale of the Canadian Debtors’ rights, title
and interests in and to the Assets to the Purchaser. In addition, if approval of any other
applicable court is required, the Sellers will as soon as practicable file an appropriate pleading
with such court(s) seeking approval of the Transaction.

                           Break-Up Fee and Expense Reimbursement

        Recognizing the value and benefits that Purchaser has provided to the U.S. Debtors and
the other Sellers by entering into the Purchase Agreements, as well as the Purchaser’s
expenditure of time, energy and resources, the Sellers have agreed that the Purchaser is entitled
to a Break-Up Fee and Expense Reimbursement in amounts and under the circumstances set
forth in the Purchase Agreements and as set forth in the Bidding Procedures Order and the
Canadian Sales Process Order.

                                             Auction

        If the Sellers receive one or more Qualified Bids in addition to the Purchase Agreements,
the Sellers will conduct an auction (the “Auction”) of the Assets, which shall be transcribed or
recorded on video to the extent required under Delaware local practice, at 9:30 a.m. on
September 11, 2009, at the offices of Cleary Gottlieb Steen & Hamilton LLP located at One
Liberty Plaza, New York, New York 10006 or such other location as shall be timely
communicated to all entities entitled to attend the Auction, which Auction may be cancelled or
adjourned without the prior written consent of the Purchaser, subject to the terms of the Purchase
Agreements and the Bidding Procedures Order. Copies of all Qualified Bids shall be delivered
to the Committee, the Bondholder Group, the Monitor, the Administrators and the Purchaser at
such time that such bid is deemed a Qualified Bid but no later than two (2) Business Days prior
to the Auction. The Auction shall run in accordance with the following procedures:

               (a)    Only the Sellers, the Purchaser, the Committee, the Bondholder Group, the
       Monitor and the Administrators (and the advisors to each of the foregoing), any creditor
       of the North American Sellers and any other Qualified Bidder that has timely submitted a
       Qualified Bid, shall attend the Auction in person (and the advisors to such Qualified
       Bidder), and only the Purchaser and such other Qualified Bidders will be entitled to make
       any subsequent bids at the Auction.


                                                10
   Case 09-10138-MFW          Doc 1282-2      Filed 08/04/09     Page 12 of 16




        (b)    Each Qualified Bidder shall be required to confirm that it has not engaged
in any collusion with respect to the bidding or the Sale.

        (c)     At least one (1) Business Day prior to the Auction, each Qualified Bidder
who has timely submitted a Qualified Bid must inform the Sellers whether it intends to
attend the Auction; provided that in the event a Qualified Bidder elects not to attend the
Auction, such Qualified Bidder’s Qualified Bid shall nevertheless remain fully
enforceable against such Qualified Bidder until (i) the date of the selection of the
Successful Bidder at the conclusion of the Auction and (ii) if such bidder is selected as an
Alternate Bidder (as defined below), the Alternate Bid Expiration Date. At least one (1)
Business Day prior to the Auction, the Sellers will provide copies of the Qualified Bid or
combination of Qualified Bids which the Sellers believe, in their reasonable business
judgment, after consultation with the Committee, the Bondholder Group and the Monitor,
is the highest or otherwise best offer (the “Starting Bid”) to the Purchaser and all other
Qualified Bidders.

        (d)     All Qualified Bidders who have timely submitted Qualified Bids will be
entitled to be present for all Subsequent Bids (as defined below) at the Auction with the
understanding that the true identity of each Qualified Bidder at the Auction will be fully
disclosed to all other Qualified Bidders at the Auction and that all material terms of each
Subsequent Bid will be fully disclosed to all other bidders throughout the entire Auction;
provided that all Qualified Bidders wishing to attend the Auction must have at least one
individual representative with authority to bind such Qualified Bidder attending the
Auction in person.

        (e)     The Sellers, after consultation with their counsel and financial advisors,
the Committee, the Bondholder Group and the Monitor, may employ and announce at the
Auction additional procedural rules that are reasonable under the circumstances (e.g., the
amount of time allotted to make Subsequent Bids) for conducting the Auction, provided
that such rules are (i) not inconsistent with these Bidding Procedures, the Bankruptcy
Code, or any order of the Bankruptcy Court, the Canadian Court or any other applicable
court entered in connection herewith, and (ii) disclosed to each Qualified Bidder at the
Auction.

        (f)     Bidding at the Auction will begin with the Starting Bid and continue, in
one or more rounds of bidding, so long as during each round at least one subsequent bid
is submitted by a Qualified Bidder that (i) improves upon such Qualified Bidder’s
immediately prior Qualified Bid (a “Subsequent Bid”) and (ii) the Sellers determine, in
consultation with their advisors, the Committee, the Bondholder Group and the Monitor
that such Subsequent Bid is (A) for the first round, a higher or otherwise better offer than
the Starting Bid, and (B) for subsequent rounds, a higher or otherwise better offer than
the Leading Bid (as defined below). Each incremental bid at the Auction shall provide
net value to the estate of at least U.S. $2.375 million over the Starting Bid or the Leading
Bid, as the case may be, provided that the Sellers, in consultation with the Committee, the
Bondholder Group and the Monitor, shall retain the right to modify the increment
requirements at the Auction, and provided, further that the Sellers in determining the net
value of any incremental bid to the estate shall not be limited to evaluating the

                                         11
          Case 09-10138-MFW           Doc 1282-2      Filed 08/04/09      Page 13 of 16




       incremental dollar value of such bid and may consider other factors as identified in the
       “Selection of Successful Bid” section of these Bidding Procedures, including, without
       limitation, factors affecting speed and certainty of obtaining regulatory approvals
       required to close the Transaction. After the first round of bidding and between each
       subsequent round of bidding, the Sellers shall announce the bid or combination of bids
       (and the value of such bid(s)) that it believes to be the highest or otherwise better offer
       (the “Leading Bid”). A round of bidding will conclude after each participating Qualified
       Bidder has had the opportunity to submit a Subsequent Bid with full knowledge of the
       Leading Bid. Except as specifically set forth herein, for the purpose of evaluating the
       value of the consideration provided by Subsequent Bids (including any Subsequent Bid
       by the Purchaser), the Sellers will, at each round of bidding, give effect to the Break-Up
       Fee and Expense Reimbursement that may be payable to the Purchaser under the
       Purchase Agreements as well as any additional liabilities to be assumed by a Qualified
       Bidder and any additional costs which may be imposed on the Sellers.

                                   Selection Of Successful Bid

        Prior to the conclusion of the Auction, the Sellers, in consultation with their advisors, the
Committee, the Bondholder Group and the Monitor will (a) review each Qualified Bid that is
either the Leading Bid or submitted subsequent to and as an improvement to the submission of
the Leading Bid (except in the event that there is no Leading Bid, in which case the Qualified
Bids to be considered will be the Starting Bid and any bids submitted subsequent and as an
improvement to the Starting Bid) on the basis of financial and contractual terms and the factors
relevant to the sale process, including, among other things, the proposed revisions to the
transaction documents, the effect of the Sale on the value of the ongoing businesses of Sellers
(including ongoing relationships with customers and suppliers), the counterparties to such
transactions, the purchase price and the net value (including assumed liabilities and the other
obligations to be performed or assumed by the bidder) provided by such bid, the claims likely to
be created by such bid in relation to other bids, other factors affecting the speed, certainty and
value of the Sale (including any regulatory approvals required to close the Transaction), the
Assets included or excluded from the bid, the estimated number of in-scope employees of the
Sellers to be offered post-closing employment by the Qualified Bidder (save in jurisdictions
where employees transfer by operation of law) and any proposed measures associated with the
continued employment of all employees who will become employees of the Qualified Bidder, the
transition services required from the Sellers post-closing and any related restructuring costs, and
the likelihood and timing of consummating such transaction, each as determined by the Sellers,
in consultation with their advisors, the Committee, the Bondholder Group and the Monitor, (b)
identify the highest or otherwise best offer or offers for the Assets received at the Auction (one
or more such bids, collectively the “Successful Bid” and the bidder(s) making such bid,
collectively, the “Successful Bidder”), and (c) communicate to the Purchaser and the other
Qualified Bidders the identity of the Successful Bidder, the Alternate Bidder (as defined below),
if any, and the details of the Successful Bid and Alternate Bid (as defined below), if any. The
determination of the Successful Bid and Alternate Bid by the Sellers, after consultation with the
Committee, the Bondholder Group and the Monitor, at the conclusion of the Auction, shall be
final subject to approval by the Bankruptcy Court and the Canadian Court.



                                                 12
          Case 09-10138-MFW           Doc 1282-2      Filed 08/04/09      Page 14 of 16




       The Sellers will sell the Assets to the Successful Bidder pursuant to the terms of the
Successful Bid (or, under certain circumstances described herein, the Alternate Bidder) upon the
approval of such Successful Bid by the Bankruptcy Court at the Sale Hearing, the approval by
the Canadian Court and any required approvals of any other applicable court(s) with such
Successful Bidder and approval and execution by the Administrators of the relevant Successful
Bid transaction documents with such Successful Bidder (or, under certain circumstances
described herein, the Alternate Bid transaction documents with the Alternate Bidder).

                                           Sale Hearing

        The sale hearing to authorize certain of the Sellers to enter into agreements with respect
to the Successful Bid (the “Sale Hearing”) will be held, in respect of those Sellers that are U.S.
Debtors, before the Honorable Judge Kevin Gross (or any substitute therefor) in the United
States Bankruptcy Court for the District of Delaware, located in Wilmington, Delaware, on a
date to be scheduled by the court and currently proposed as September 15, 2009 at 9 a.m.
(Eastern), and, in respect of those Sellers that are Canadian Debtors, before the Honourable Mr.
Justice Geoffrey B. Morawetz (or any substitute therefor) in the Ontario Superior Court of
Justice, in Toronto, Ontario, and in any other applicable court(s) whose approval is required, as
soon as practicable following the date of the Sale Hearing (or, with respect to the Canadian
Court, in a joint hearing with the Bankruptcy Court at the Sale Hearing). The Sale Hearing and
any hearings of any other applicable court(s) to approve the entering into agreements with
respect to the Successful Bid, may be adjourned or rescheduled by the Sellers without further
notice by an announcement of the adjourned date at the Sale Hearing or, in the case of an
adjournment of a relevant hearing of any other applicable court, at such hearing. If the Sellers do
not receive any Qualified Bids (other than the Qualified Bid of the Purchaser), the Sellers shall
proceed as set forth in the “No Qualified Bids” section above. If the Sellers receive one or more
additional Qualified Bid(s), then, at the Sale Hearing and at any other hearings of any other
applicable court(s) to approve the entering into agreements with respect to the Successful Bid,
the Sellers will seek approval of the Successful Bid, and, at the Sellers’ election, the next highest
or best Qualified Bid (the “Alternate Bid” and, such bidder, the “Alternate Bidder”). The
Sellers’ presentation to the Bankruptcy Court, the Canadian Court and any other applicable
court(s) whose approval is legally required, of the Successful Bid, and, if applicable, the
Alternate Bid will not constitute the Sellers’ acceptance of either of such bids, which acceptance
will only occur upon the latest approval of such bids to be delivered by the Bankruptcy Court at
the Sale Hearing, the Canadian Court and any other applicable court(s) whose approval is legally
required. Following approval of the Sale to the Successful Bidder, if the Successful Bidder fails
to consummate the Sale for any reason, then the Alternate Bid will be deemed to be the
Successful Bid and the Sellers will be authorized, but not directed, to effectuate a Sale to the
Alternate Bidder subject to the terms of the Alternate Bid of such Alternate Bidder without
further order of the Bankruptcy Court, the Canadian Court or any other court. The Alternate Bid
shall remain open until September 30, 2009 (the “Alternate Bid Expiration Date”). All Qualified
Bids (other than the Successful Bid and the Alternate Bid) shall be deemed rejected by the
Sellers on and as of the date of approval of the Successful Bid and the Alternate Bid by the
Bankruptcy Court, the Canadian Court and any other applicable court(s) whose approval is
required, as indicated above.



                                                 13
          Case 09-10138-MFW           Doc 1282-2      Filed 08/04/09      Page 15 of 16




                                       Good Faith Deposits

        The Good Faith Deposit of any Alternate Bidder shall be retained by the Sellers until the
Alternate Bid Expiration Date and returned to the Alternate Bidder within five (5) Business Days
thereafter or, if the Alternate Bid becomes the Successful Bid, shall be applied to the purchase
price to be paid by the Alternate Bidder in accordance with the terms of the Alternate Bid. The
Good Faith Deposits of Qualified Bidders not selected as either the Successful Bidder or
Alternate Bidder shall be returned to such bidders within five (5) Business Days of the date of
the selection of the Successful Bidder and the Alternate Bidder. The Good Faith Deposit of the
Successful Bidder will be applied in accordance with the terms of the Successful Bid, and,
except in the case of the Purchaser, where the Purchaser’s Good Faith Deposit shall be governed
by the terms and conditions of the Purchase Agreements, will become nonrefundable upon the
approval by the Bankruptcy Court and the Canadian Court of the Sale to the Successful Bidder.

                                      Reservation Of Rights

        The Sellers, after consultation with their advisors, the Committee, the Bondholder Group
and the Monitor, and their respective advisors, (a) after each round of bidding at the Auction may
determine which Qualified Bid, if any, is the highest or otherwise best offer and the value
thereof, except that a Qualified Bid not selected as a Starting Bid or Leading Bid cannot
subsequently be determined to be higher or better than the Starting Bid or Leading Bid, as
applicable; and (b) may reject, at any time, any bid (other than the Purchaser’s initial bid) that is
(i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bankruptcy
Code, the Bidding Procedures, any orders of the Canadian Court or any other orders applicable
to one or more Sellers, or the terms and conditions of the Sale, (iii) contrary to the best interests
of the Sellers, their estates, and stakeholders as determined by the Sellers in consultation with the
Committee, the Bondholder Group and the Monitor, or (iv) contrary to the statutory duties or
legal obligations of the Administrators in relation to the exercise of their duties or functions as
administrators of certain EMEA Sellers.

        Notwithstanding any of the foregoing, or anything else contained herein, however, the
Sellers may not, without prior written consent of the Committee, the Bondholder Group and the
Monitor, which consent may not be unreasonably withheld, (i) extend the deadlines set forth in
the Auction procedures for more than three (3) Business Days, (ii) adjourn the Auction for more
than three (3) Business Days, or (iii) adjourn the Sale Hearing for more than three (3) Business
Days if the Auction has concluded.

        For the purposes of these Bidding Procedures and all matters relating to them, the
Administrators are acting only as agents for and on behalf of the EMEA Sellers that are
controlled by the Administrators pursuant to the UK Proceedings and without personal liability.
Notwithstanding the foregoing and subject to the following paragraph, the Sellers may not,
without the prior written consent of the Purchaser, impair or modify the Purchaser’s rights and
obligations under the Purchase Agreements or the Purchaser’s right to credit the Break-Up Fee
and the Expense Reimbursement as part of any subsequent bids (except as specifically set forth
herein).



                                                 14
          Case 09-10138-MFW           Doc 1282-2      Filed 08/04/09     Page 16 of 16




        The entirety of the Bidding Procedures are subject to the rights of the Sellers, after
consultation with the Committee, the Bondholder Group and the Monitor, to revoke these
Bidding Procedures, the Bidding Process or the Auction at any time to satisfy their fiduciary
duties or the statutory duties or the legal obligations of the Administrators in relation to the
exercise of their duties or functions as administrators of certain EMEA Sellers, provided that
such revocation will result in a breach of the Purchase Agreements entitling the Purchaser to
such rights as are set forth in the Purchase Agreements in respect of such breach.




                                                 15
